Re: Disclosure of Medical Note
Krystle Delgado, Esq <krystle@delgadoentertainmentlaw.com>
Fri 7/26/2024 5:23 PM
To:​Aaron K. Haar <akh@jaburgwilk.com>;​Delgado Entertainment Law <LawTeam@delgadoentertainmentlaw.com>​
Cc:​Maria Crimi Speth <mcs@jaburgwilk.com>​
Yikes, Aaron.

As I mentioned on Monday, we were passing this letter along in advance of a later anticipated conversation. In addition to
other concerns, our client's recently discovered condition makes her susceptible to injury, which makes travel very
challenging. As just one example, she broke her ankle today walking.

This medical condition was also unknown when she initiated this lawsuit. In any case, we will circle back next week with
additional information, and so we can discuss this further.

Regarding our supplemental responses, we anticipate having those to you by Friday, August 2. Thank you.

Sincerely,

Krystle Delgado, Esq.




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From: Aaron K. Haar <akh@jaburgwilk.com>
Sent: Thursday, July 25, 2024 12:49 PM
To: Delgado Entertainment Law <LawTeam@delgadoentertainmentlaw.com>
Cc: Krystle Delgado, Esq <krystle@delgadoentertainmentlaw.com>; Maria Crimi Speth <mcs@jaburgwilk.com>
Subject: RE: Disclosure of Medical Note

Krystle:

What is this purported “medical condition”? Stress? Just like the last letter, this one reads like your client told the doctor (a friend?) she
didn’t want to have to come to Arizona for a deposition and the doctor suggested he could help her out. And I’m not clear how your
client could come to Arizona for trial but not for a deposition. As I indicated on our call, we need more information. This letter doesn’t
hack it.

I did connect with our client regarding your letter. We are going to be a minute because we are having to track down the 9-page laundry
list of items you already have.

When do you anticipate getting us your promised supplemental responses?
                                                                                                                                                                                                           Aaron K. Haar      ​




                                                                                                                                                                                                           Partner | Jaburg Wilk
                                                                                                                                                                                                              602.248.1025 |     akh@jaburgwilk.com


From: Delgado Entertainment Law <LawTeam@delgadoentertainmentlaw.com>
Sent: Thursday, July 25, 2024 11:17 AM
To: Aaron K. Haar <akh@jaburgwilk.com>
Cc: Krystle Delgado, Esq <krystle@delgadoentertainmentlaw.com>; Maria Crimi Speth <mcs@jaburgwilk.com>
Subject: Disclosure of Medical Note
Good Afternoon Aaron, Please see the attached medical note from our client's doctor. It provides that her doctor believes that due to her current condition flying is not an appropriate means of travel




sophospsmartbannerend




Good Afternoon Aaron,

Please see the attached medical note from our client's doctor. It provides that her doctor believes that due to her
current condition flying is not an appropriate means of travel. To avoid unduly burdening our client, we request an
alternative means to her active participation such as video conferencing.

Additionally, We are requesting an update as to how you'd like to proceed in relation to our last letter, since you
had a chance to speak with your client since our last communication. Let us know if you need to discuss or
require further clarification on anything. We look forward to your response. We hope you have a wonderful rest of
your day.

Sincerely,
Ben Mashmoor, Esq.

Law Team
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